Case 3:21-md-02981-JD Document 958-2 Filed 05/02/24 Page 1 of 3




                EXHIBIT A
            Case 3:21-md-02981-JD Document 958-2 Filed 05/02/24 Page 2 of 3




           Install apps from trusted
           sources only
    ■ Shop at reputable app stores -     Before downloading an app,
    research both the app and its publishers. Be cautious of links you
    receive in email and text messages that might trick you into installing
    apps from third party or unknown sources.
    ■ Check other users' ratings and reviews if available.

    ■ Read the app's permissions -      Check which types of data the app
    can access, and if it might share your information with external parties.
    If you are suspicious or uncomfortable w ith the terms, don't download
    the app.                                                                                          I    -
                                                                                                      I
                                                                                                      I
                                                                                                      I
           Don't click on links or attachments in                                                     s- - •
           unsolicited emails or text messages                                                                 ~I
    ■ Don't    trust   links in   unsolicited   emails or text      messages
    (SMS and MMS) - Delete them as soon as you receive them.
    ■   Double-check shortened URLs and QR codes - They could lead to
    harmful websites or directly download malware to your device. Before
    clicking, use a URL preview site to confirm that the web address is
    legitimate. Before scanning a QR code, choose a QR reader that


                                   i
    previews the embedded web address and use mobile security software
    that warns you of risky links.


~--------~----~-----~------~-------·
I

t                                                               Log out of sites after you
I

••
I
                   3■ ■ ■                                       have made a payment
                                                      ■ Never save usernames and passwords in your mobile browser or
                                                      apps - If your phone or tablet is lost or stolen, anybody could log in to
                                                      your accounts. Once the t ransaction is completed, log out of the site
                                                      instead of just closing the browser.
                                                      ■   Don't bank or shop online using public Wi-Fi connections -      Only
                                     --$---~
                                                 I    do online banking and t ransactions from networks you know and t rust.
                                                 I
                                                 I    ■   Double-check the site URL -   Ensure that the web address is correct
                                                 I    before logging in or sending sensitive information. Consider
                                                 I
                                                      downloading your bank's official app to ensure you are always
                                                 I
                           {ji------$, connecting to the real site.


                                                      4      Keep your operating system
                                                             and apps updated
                                                      ■ Download software updates for your mobile device's operating
                                                      system as soon as you are prompted - Having the latest updates will
                                                      ensure that your device is not only more secure, but it also performs
                                                      better.
                            ·--------------------------------·
               Case 3:21-md-02981-JD Document 958-2 Filed 05/02/24 Page 3 of 3
              Turn off Wi-Fi, location services
    5
                                                                                                       -
                                                                               I
              and Bluetooth when not in use                                    I
                                                                                                               I
    ■   Turn off Wi-Fi if you are not using it - Cybercriminals can access
                                                                                                               -
    your information if the connection is not secure. If possible, use a 3G or
    4G data connection instead of hotspots. You can also opt for a virtual
    private network (VPN) service to keep your data encrypted in t ransit.                     ~~-
                                                                                               ~--
    ■ Don't allow apps to use your location services unless they need to                           I
                                                                                                   I
    -   This information may be shared or leaked and used to push ads
    based on your w hereabouts.
    ■   Turn off Bluetooth when you don't need it - Ensure it is turned off                      t-~
                                                                                                       -
    completely and not just in invisible mode. The default settings are often
    pre-set to allow others to connect to your device without your
    knowledge. Malicious users could potentially copy your files, access
    other devices attached or even gain remote access to your phone to
                                                                                                                    II
    make calls and send text messages, resulting in expensive bills.                                                 1


          ~----------~---------~--------~---------~
          I



                                                      6       Avoid giving out
                                                              personal information
                                                      ■ Never respond with personal information to text messages or
                                                      emails claiming to be from your bank or another legitimate business.
                                                      Instead, contact the business directly to confirm their request.
                                                      ■ Regularly review your mobile statements to check for any
                                                      suspicious charges - If you identify expenses t hat you have not made,
                                                      contact your service provider immediately.




                      -      I

                                                      7       Don' t jailbreak




                       ~
                                                              your device
                                                      ■   Jailbreaking is the process of removing the security limitations
                                                      imposed by the operating system vendor, gaining full access to the


                 ------·.                             operating system and features -     Jailbreaking your own device can
                                                      significantly weaken its security, opening security holes that may not


~------~------~
                                  I                   have been readily apparent.




~
I
    8         Back up
              your data
I   ■ Many smartphones and tablets have the capability to back up data
I   wirelessly - Consult the options depending on your device's operating


                                                                                                 -
I
I
    system. By creating a backup for your smartphone or tablet, you can
1   easily restore your personal data if the device is ever lost, stolen or
A
~- -----~
    damaged.

                  I
                  I
                  I
                  I
                  I
                                          I
                                                      9       lnstal~ a mobile
                                                              security app
                                                      ■   All operating systems are at risk of infection. If available, use a
                  I
                                                      mobile security solution that detects and prevents malware, spyware
                 ~
                  I
                  I                   -   I           and malicious apps, alongside other privacy and anti-theft features.
